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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                    Hon. Brian R. Martinotti

                                            Crim. No. 20-724 (BRM)
             V.
                                            21 U.S.C. § 846
WALEED DOZIER,                              21 U.S.C. §§ 841(a)(l) and (b)(l)(A)
KEEVIN AUSTON, and                          18 U.S.C. § 922(g)(l)
DOMINIQUE AUSTON                            18 U.S.C. § 924(c)(l)(A)(i )
                                            21 u.s.c. § 856

                              INDICTMENT

      The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges:

                                  COUNT ONE
   (Conspiracy to Distribute and Possess with Intent to Distribute Controlled
                                 Substances)

      From at least in or around September 2019 through in or around

December 2019, in the District of New Jersey and elsewhere, the defendants,

                             WALEED DOZIER,
                            KEEVIN AUSTON, and
                            DOMINIQUE AUSTON,

did knowingly and intentionally conspire and agree with each other and with

others to distribute and possess with intent to distribute 400 grams or more of

a mixture and substance containing a detectable amount of fentanyl, a Schedule

II controlled substance, contrary to Title 21, United States Code, Sections

841(a)(1) and (b)(1)(A).

            In violation of Title 21, United States Code, Section 846.
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                     CASE NUMBER: 20-724-BRM

                United States District Court
                  District of New Jersey

                    UNITED ST AT ES OF AMERICA

                                  v.

                           WALEED DOZIER,
                           KEEVIN AUSTON,
                                 and
                          DOMINIQUE AUSTON

                          INDICTMENT FOR
                        18 U.S.C. § 922(g)(l)
                      18 U.S.C. § 924(c)(l)(A )(i)
                           21 u.s.c. § 846
                  21 U.S.C. §§ 84l(a)(l) and (b)(l)(A)
                           21 u.s.c. § 856




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                      UNITED STATES ATTORNEY
                          NEWARK, NEW JERSEY


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